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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
                              NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                        MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                           JUDGE ENGELHARDT
                                                           MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Member Case No. 09-2892

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                                    NOTICE OF APPEAL

       Notice is hereby given that plaintiff Alana Alexander, individually and on behalf of

Christopher Cooper, is aggrieved by, and hereby appeals to the United States Court of Appeals

for the Fifth Circuit from, the Order and Reasons dated March 30, 2010 (Doc. 13149), denying

plaintiffs’ Motion for New Trial, or, Alternatively Relief from Judgment.



                                     Respectfully submitted:

                                     FEMA TRAILER FORMALDEHYDE
                                     PRODUCT LIABILITY LITIGATION

                                     BY:    s/Gerald E. Meunier
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                                            s/Justin I. Woods
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                                            COURT-APPOINTED PLAINTIFFS’
                                            STEERING COMMITTEE
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                                            ROBERT BECNEL, #14072
                                            RAUL BENCOMO, #2932
                                            FRANK D’AMICO, #17519
                                            MATT MORELAND, #24567
                                            LINDA NELSON, #9938
                                            DENNIS REICH, Texas #16739600
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.




                                            /s/Justin I. Woods       _
                                            JUSTIN I. WOODS
